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      .J D Sagen - PR Nancy Sagen                                            Ke,nneth                    6/26/2002 5115/1 ~35 Community
      ~ Schauer                                                              Arthur                      6/17/2003 1/19/1942 Community
       "~ Schauss                                                            Charlotte                ,9/23/2002                  3/211937 Community
       A ' Schauss                                                           Guenther                    3/27/2001 10/2711927 Community
       A Shaffer                                                             Donald                        212/2005 4121/1936 Community
       A ' Shaw                                                              Dou~                          4/412001 9/12/1951 Community
       A Shea                                                                Donald                     5/31/2001                 5/4/1931 Community
       D Shea - PR 77                                                       L o i s ' 4/2/2001 5112/1930 Community
       A Shiflett                                                           William                     8/24/2000 7110/1928 Community
     , A Shriner                                                          , Donna                       2/28/2002 4/11/1938 Community
       A Sichting                                                           Roberta'                    1/16/20041/13/1944 Community'
      A· Siefke                                                             Timothy                       6/2/2004 ,5/8/1945 Community
       o Siefke - PR Trudy Siefke                                           Raymond                   '1119/1999 10/30/1921 Community
      A Skidmore                                                            Victoria                 10113/1995                  6/7/193S Community
      A Skranak                                                         " Lois                         1/26/2006                 6/411951 Community
      A Smith,                                                             Bennie                      9/11/200~ '2127/1936 Community
      A ,Smith, ,                                                          Donald                        5/2/2001, 3/1/195,3 Community
     A Smith                                                             , Harriet                     9/15/2002 3/30/1939 Community
     A Sneath                                               "Roy                                         217/2002               8/8/1936 COlllmunity
     A Solem                                                             , J,ohn                     10/12/2000                 2/211927 Community
     A Spencer                                                             Forrest                       11111999, 5113/1923 Community
     A Stacy                                                              Norma                  '12119/2001                    2/6/1945 Community
     A Stacy, Sr                                                        , Donald                      2/21/2001 7/24/1943 Community
     D ,Stanley ~ PR Lynn Stanley                                         Robert                        811/2002 11/22/1922, Community
     D Stapley - PR 77                                                    Kenneth                     812012001                 8/9/1925 Community
    r.A--1";;S-;-te-'-w-a-'-:rt----'-----'---~---,-------+C'=h~a~rl:-=-e:::...:s '-----+...,.1-;-:1/~26-:-;/:::'20~0:--:1+-21=7:-:1O/{S39 Community ,
       A , Strand                                                               ",.                     David                                          1119/2005                       3/2/1940 Community
, 'Tc-_,r.;S~w;..=e.:..:.tln:.;.:e:..:s'------------'------:-----:.-_EB.=:er:.;.:n::;:ad:;:.:.in:.::e:--+__=7=:_:_/1_;.:                                      1/=2~00::_:0;+-;_=41T.;176/;.;.1~93::_:3;+C=:_o.:.:m.:..:.m~un:..:.:'ity~,_ - ;
                    Swennes                                                                             Donald                                         7/11/2000 12130/1929 Community
                   Tallm~dge ,                                                                         Stanle.y                                     10/21/2Q03 11/20/1950 Community
      A Tarbert                                                                                      ' Bernard                                     ' 3/26/2001, ' 5/911936 Community
      A Taylor-Regjovich,                                                                           . Shirley                                         2/11/2003 2123/1937 Community
      A Templin, Sr                                                                                    Ja.ck                                        12/13/1994 12/13/1931 Community
      A Thoeny                                                                                        Arthur                                          1/23/2001 e/27/1929 Community
      A· Tholen                                                                                       Ric.hard                                        1115/2001                       6/311930 Community ,
     A Thomson                                                                                        Darrell                                          ,3/4/2002 1/12/1962 Community
   f.:A.:...,_..I:::T,.:.,o,;;.;He~-_~-_·._'''_·_.. _"_"--'-,_ _._._'_"._._.,_"._-_"_-_-. ,,,----1f7=M.:::a'::.!ry'-=a:::.:.nn:..:..-~----.-..-,1-'--,:4:.,:/1~3~/2~0~00=+--::'-::5/;.:::8:7.11c-=9-7-39.::-i'
                                                                                                                                                                                                           -=C--,-o,-m,-m--,-u_n~ity:'-~-l-..... "-" -..
     A· long                                                                                       " Lawrence'                                       1/31/2003 2127/1944 Community
    A , Truman                                                                                        Franklin'                                    10113/2004 7/20/1941 Community
    A Tunison                                                                                         Kerry                                          1/30/2007 5/27/1952 Community
    A Tunison                                                                                        Roxann                                             3/5/2007 1/13/1951 Community
    A Ueland                                                                                         Joanna                                       12/19/2006                         614/1934 Community
   A Vaughn                                                                                       ' Gerald                                        11112/2003 9117/1946 Community
   A Vinson                                                                                          Kay,                                           5113/2002 12/12/1937 Community
   A Vinson                                                                                          Richard                                        1215/2001 6/13/1957 Community
  A Wagner                                                                                          Cindy                                           2/26/2001 4/13/1959 Community
  A Walker                                                                                          Lona.,                                          7/27/2001 12/6/1944 Community'
  D 'Walker- PR Bonnie Hall                                                                         Bi;mnie                                         8/29/2001 1/31/1926 Community.
  A Watkins                                                                                         Bradley ,                                       5/25/2000 1213011957 Community
  A Watson                                                                                          Kelfy, .                                     10/22/2007                         813/1956 Community
  A Waychoff                                                                                       Pieter                                           2/22/2001 10/4/1938 Community
  A Webb                                                                                           Michael                                      11/29/2000 813011943 Community
  D Welch - PR Harriet Welch? Robert Welch?                                                        Nevin                                           6/22/2000 4/16/1926 Community ,
lA Westlund                                                                                        Charles                                         4/10/2001                        2/8/1940 Community
}: Westlund                                                                                        Tim                                             4/19/2001 10/23/1963 Community
 'A Whalen                                                                                         William                                            3/612006 5/23/1939 Community
A Williams, Sr,                                                                                    Lawrence                                        3/27/2001 6/28/1942 Community
 D. Wilson - PR Doralee Wilson                                                                    Ford                                               6/6/2001 121811928 Community
                                                                                                                                                                                                        5128/2008
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       A      Wood                                                                   Connie                          . 9/13/2005 1/151194 1 Community
    -:.;q~    Yeager                                                                                                   10/3/2003 31291193 9 Community
                                                                                     Denni~
       ~.
             Zak                                                                         Helen                           819/2004 1215/195 2 Community
     A       Zelenak                                                                     Marlene                       2119/2002 10/191193 5 Community
     A       Zimmerman                                                                   Robert                      12/19/2000 . 1151194 2 Community
    ·A       Zugg                                                                        E. Neven·                      8/2/2001     21911952 Community
     A       Ada·ms                                                                      Nancy                          3/9/2005     4181194 5 Family Member 143
     D       Adkins - PR Ellen Adkins                                                    Dean                         8/24/2000 7/131193 7 Family Member
     A       Albert                                                                      Mary                         4124/200 1 11/181193 6 FamilyMember
      A      Albert                                               ..                     Robert                       5/29/2001 6/11/195 5 Family Member
      A      Alkire                                                                      Mary Beth                    5112/1997 1/22/1942 Family Member
      A      Auge                                                                        Darlene                       ·317/2001 7/10/1942 Family Member
      A      Auge                                                                       Pamela                        3/21/2005 5/2911962 Family Member
           A Bache                                                                      Donna·                        10/9/2000 711311936 Family Member
           A .. Badgley                                                                 Mike·                         3/3012001     71311947. Family Member
           D Baenen - PR Loretta Cook                                                   Kitty                      . 2/15/2000 3/1611920 Family M~mber
           A     Baeth                                                                  Judith                       5/25/2005 2/2311949 Family Member
           A" Baeth                                                                     Katherine                    2/17/2004 8/25/1924 Family Member
           A     Baeth                                                                  Louise May                   5/2111997 6/2611938 Family Member
          A Ba.ker.                                                                   . Darryn·                      7124/2000      3/611972 Family Member
          A Baker·                                                                      Frances                      3/21/2000 7/26/1949 Family Member
          A Baker                                                                      Mildred                         1/1/1995 512011928 Family Member·
          0 Basham - PR Dixie Cummings                              ..
                                                                                       Jack                          1/11/2001 7/30/1941 Family Member
          A Benefield                                                                  Gayla                         5/10/2001 9/17/1.943 Family Member
          D Berinett - PR David Bennett                                    .' ... ..
                                                                               ,
                                                                                       Lois                        10/14/1998 11/2/1936 Family Member
          A     B~ggess                                                                Darrell                     .8/10/2000 7/2411938 Family Member
          A .. Brickey                                                                 Helen                          311/2000     4/311948 Family Member
      ... A . Brown                                                                    Doris                      12/14/2000 111911943 Family Member
          p Burton - PR Don Burton??                                                   Sharon                       7/10/2001      7/211943 Family Member
       .~      Cannon                                                                 Larry                           7/5/2001 4/1311942 Family Member
         A . Cannon.                                                                  Yoko                          7129/1999 4/1211937 Family Member
         A     Cartwright                                                             Judith                        4/19/2001 11/811949 Family Member
         A Carvey                                                                     Steven                     10/30/2000 11/22/1941 Family Member
         A     Challinor                                                              Wendy                        2/2012001 .5/24/19S0 Family Member
        A      Cole                                                                   David·                       5/10/2006 10/511942 Family Member
        A      Collinson                                                              Linda                   . 12/21/1999 10/511937 Family Member
        A     CQok······ . .....
                       -~                  _
                                       . ... .... . - ._--_ .. _------_.              Leslie . .. __ ......- . ... 611312005 3/3011952 famJlIl.Merober           .-
        A     Curtiss                                                                 Sharon                    . 1/21/1997 1212811945 Family Member·
        A     Day                .'- .                                                Donald                         212/1999 . 511011957 Family Member
       A      Day                                                                     Hazef .                      ·1/212002 12/Sl1950 Family Member
       A· Dedrick                                                                    Carrie                        ·6/8/1999 1213011931 Famity Member
       D DeShazer - PR David DeShazer                                                Margaret                      .7/7/1997      21911922 Family Member
      A Orljry                                                                       Marjorie                       213/1999 . 2/19/1935 Family Member
      A       Edwards                                                                Marilyn                      3/15/2001 101911939 Family Member
     A        Eldridge                                                               Kristine                     5115/2001 10/2411954 Family Member
     A        Erickson                                                               Sonngard                     9/14/2004 6/1811944 Family Member
     A       Foss                                                                    Judi                         5/15/2001 9/3011958 Family Member
     A       Goff                                                                    Daniel                       7/19/2001 1/2811942 Family Member
     A       Goff-Tobin                                                              M. Louise                    6/11/2001 11/2211940 Family Member
    A        Greenup'                                                                Donna                      ·5/2411989 .71511949 Family Member
    A Grenfell .                                                                     Susan                     . 2/28/2002 10/1911957 Family Member
    0 .Haack - PR Brian Corbett                                                      Clarice                     4/1912001 10/2411918 Family Member
    A        Hagerty                                                                Leota                      10124/2000 12/31/1946 Family Member'
 ,A Halsey                                                                          Donna                        912112000       9/311936 Family Member
.. \\
             Halsey                                                                Hazel                         3/18/1999       8/211931 Family Member
   ;tl.      Hamann                                                                Caroline                      1216/2000 1/22/1941 Family Member
   A         Harma                                                                 Jerri                         7125/2007 9/1411963 Family Member
   A        Harshaw                                                                Frances                      6/20/2000        8/811918 Family Member
                                                                                                                                             5/28/2008
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        A       Hopkins                                                              Louise'                   9/17/2001 4/2211~4 6 Family Member
      -~      . Hughes                                                               Patricia                   4/312001 11120/194 3 Family Member
           .~ Johnson                                                                Cindy                      21212005       215/195 3 Family Member
            A Johnson·                                                               Laura                     1125/2000 8/21/193 8 Family Member
            A Johnson                                                                Marjorie                   3/412002 .6119/194 9 Family Member
            A Johnson                                                                Steven'                    2/7/2002 6/22/195 9 Family Member
            A Johnston                                                              Valorie                    .3/9/1999      2/9/193 4 Family Member
            D KeUer - PR Wilbur Keller                                            . Deloris                 10/19/2000 8/24/193 o Family Member
            D Kelly - PR Gyme Kelly.                                                Patricia                    3/911999 10110/194 4 Family Member
           A . Kessel                                                               William                   . 112/200 8 . 5/8/1974 Family Member
           A Kirschenmann                                                           Claudette                   1/3/2005 5/22/194 2 Family Member
           A Kujawa                                                                 John                      6/28/2001 10/2/1959 Family Member
           A Lundstrom                                                             Judy                       3122/2000 11/17/1940 Family Member
           D Lyre - PR JimmIe Lyle                                                 Shirley                     51212002       5/4/1935 Fal1}ily Member
          A MacDonald                                                              Kelly                     9/20/2000 5/30/1957 Family Member
          A Mack.                                                                  Janet                       41212001 8121/1945 Family Member
                                   ..
          A Maynard                                                                Dol/y                     9/13/2001 4/25/1931 Family Member
          A McCarty                                                      ,
                                                                                   Dorothy                   211911997 2112/1943 Family Member
          A McComas                                                                Michael'                  8/25/2000 ' 2/6/1953 Family Member
          0   McGill - PR Lon!'l Dianne Walker                                     Blanche                   6/12/2001 . 8/15/1912 FamiJy.Member
          D McMilhan - PR James McMillan                                           Lynn                      8/16/2001 10/17/1946 Family Member .
         A McNair                                                                  Roland                   512111997 5/1011944 Family Member
         A Moeller                                                                 Billie                 ' 121412000 . 6120/1946 Family Member
         A- Morton                                                                Carol                       311/2001 12/16/1932 Family Member
         A Murer                            .-                                    Diane                     4/11/2001 2/17/1943 Family Member.
         A Murray                                                                 Daniel                    1211/2000 3/18/1938 FamilyMember .
         A Murray'                                                                Harry                     2/13/~001        7/4/1934 Family Member
    ,'!IiA Neise                                                                  Sherry                    1/17/2002        6/7/1954 Family Member


     "
             Nelson                                                               JoAnne                   .1127/2003 10/16/1941 Family Member
,  . ''A     Nelson                                                               Karen                       5/312001 . 9/30/1962 Family Member
        A Nelson -                                                                Richard                   1/30/2006       4/4/1938 Family Member
        A .' Nicholls                                                             Paul                   11110/2000 3/29/1951 Family Member
        A Noble                                                                   Benita                     7/512001 7/11/1957 Family Member
        A Noble                                                                   Patricia                 8/12/2001 , 117/1953 FamilyMember
        0 Noble.- PR Melissa Williams                                            Roperta                 10/17/2007 7122/1944 Family Member
        A Norton                                                                 Marilyn                   5/24/2005        4/411949 Family Member
  - D Oikla-~ PR Julie Randles- -'--_...- .- _. _. - --   -~   .. '_."   .   ._, Edna     . ......     __.3/2112000, J..2l1.7/19~6 Family'. M!'!niq~r .
       A Olson                                                                   Glynda                    1/28/2004       7/111952 Family Member
                                        . .
                                        ~--



                                                                                                          6123/1998 4/25/1935 Family Member
                                              ,   ,
       D Olson - PR Glynda Olson                                                 James
       A Orsborn                                                                 Elvira                   121612000 7/17/1937 Family Member -----
       A Orsborn                                                                 Roy                      10/5/2000 3/23/1936 .Family Member
                                                                                                                                                        ..
       A Osterhues                                                               Lynn                     5/10/2001 .12/10/1953 Family Member
       D Owen,.Segura ,. PR Wayne Belch~r??                                     Linda                     5/22/2001 11/15/1942 Family Member
       D' Petrusha ,. PR Robert Petrusha                                        Lorainne .              . 7/17/2001 7/23/1925 Family Member,
       A Philbrick                                                              Constance                 5/26/2000 . 8/5/1948 Family Member
      A Pickett                                                                 Julie                   11110/2004 1110/1956 Family Member
      A' Porte                                                                ' Laurel                    6/21/2000 3/20/1957 Family Member
      A Priest                                                                  Alice                     3/24/1999 5/26/1928 Family Member
      A Redman                                                                  Robbin                  .8/11/1998 8122/1955 Family Member
      A Righter                                                                 Mary                     6/10/1998 2/12/1952 Family Member
      A Rogina                                                                 Katheryn                    8/2/2005 3/31/1955 Family Member
      A Rohan                                                                  Dave                        1/412000        9/2/1949 Family Member
     A Runyan                                                                  Jerry                     6/11/2003 2/25/1942 Family Member
  ",A Ryan                                                                     Judith                    8/11/2005        8/611939 Family Member
     V\ Schnackenberg                                                          Joseph                    3/14/2006 11/28/1 962 Family Member
.... A ,S hearer                                                               Wilma'                   7/1611997 4/24/1941 Family Member
     A Shelmerdine                                                            Judy                      4/11/2001 10/28/1950 Family Member
     A Shriner                                                                Susan                    12/12/2006 3/2111965 Family Member
                                                                                                                                         ,5/28/2008
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       .A     Shriner                                                                                      Wafter               6/25/2007 ·9/27/1934 Family Member
      :~      Sichting                                                                                     Francis·              2/5/2001     3/9/1939 Family Member
       A      Skramstad                                                                                    Brent                3/23/1999 5/30/1958 Family Member
          A     Skr~mstad                                                                                  Norita               3/10/1999 12/14/1936 Family Member
         A      Slauson                                                                                    Dale               11/13/2000 1/21/1935 FamllyMember
         A      Smith                                                                                      Calvin                5/7/2001 ·2/28/1957 Family Member
         A     Smith                                                                                      Opal                 8/27/1998 10/9/193 1 family Member
       .A      Spady, Sr                                                                                  Stuart                 6/4/2001     5/8/195 o Family Member
         A     So/etstoser                                                                                Phyllis              3/15/2006 5/16/1942 Family Member
         A     Stacy                                                                                      L.ois ..           1.1/14/2006 12/29/1941 Family Member
         D· ,
               Stacy - P R Douglas Stacy'                                                                 Beryl                8/28/2001 1/20/1936 Family Member
        A      Stahlberg                                                                                  Rose                 6/28/2000 7/26/1936 Family Member
        A      Strand                                                                                     Peggy               4/11/2005 ,6/2,1/194 8 Family Member
        A. Sunell                                                                                      , Agnes                11/2/2000 4/14/1956 Family Member·
        A     Swartzwelder                                                                               Jamie                7/14/2005 . 1/7/1963 Family Member
        A     Templin                                                                                    Ida                    7/6/1999     7/2/1934 Family Member
        A     Tevebaugh                                                                                  Mary              , 4/15/2002 8/27/1938 Family Member
     ,A Theonnes                                                                                         Lois                 4/11/2001      8/9/1935 Family Member
       A Thomson                                                                                         E:va                   5/1/2001     3J711939 Family Member
       A      Tr:oyer                                                                            '.
                                                                                                         A. Diane            2/11/2004 , 8/21/1949 Family Member
       0 Urdahl - PR John Urdahl, Jr.                                                                   Jolin                5/28/1999 5/26/1936 Family Member
       D Vatland - PRGaylaBenefield                                                                     Margaret             5/28/1985 11/19/1918 Familv Member
      A . Vlnion                                                                                        Patrick              6/25/1997 12/1/1951 Family Member
      A Wade                                                                                            Charlotte              7/7/1997 ' 2/16/1943 Family Member
   ·A Warner                                                                                          . Betty                12/9/1999 6/29/1950 Family Member
      A Wasco                                                                                           Shirley              2/22/2001      31711943 Family Member
     A      Widic                                                                                       Sandra·              4/16/2002 9/29/1951 Family Member
   ~LA Wilburn                                                                                          Barbara                81712001 2/16/1933 Family Member
      }. Wilkes, Jr                                                                                     Larry                 4/9/2001 10/4/1953 Family Member
     A' Williams                                                                                        Melissa           11/21/2{)07 10/15/1970 Family Member
     A      Wright                                                              ,.                     Margaret               8/3/2000 ·9/4/1921 Family Member
     A      Young                                                                                      Angela ,.              8/2/2001 8/19/1954 Family Member
  .:.A      Young                                                                                      Quentin            10/18/2001        6/2/1942 Family Member.
     A ' Bache                                                                                         Frank                4/26/2001 11/19/1933 SUbcontractor 26
    A· Blaine                                                                                          DO,nald            10/21/1999 9/26/1940 Subcontractor
    A      Breeding                                                                                   Charles               8/28/2001 ,.5/14/1922 Subcontractor
    A      Burrell            .. .. - .. -'.' -.- .......   ',            - .        ".   ~         . Christopher        . 6/14/2002 .12/111952 Subcontractor           ,-
    D Carr - PR Kelly Carr'                                                                           William,               111/1999 ' 7/13/1932 Subcontractor
                                                  ....(.    "    ,
    D Challinor - PR BettY Challihor                                                                . Jim                    5/9/2001 -10/1/1934 Subcontractor
   A ' Cornwell                                                      .,                               E.Jim·               6/27/2001 ·61711931 Subcontractor
   A       Dedrick,                                                                           .,      Robert               4/20/1998       71711931 Subcontractor
   A      Erickson                                                                                   .Richard              7/17/2001 1/10/1952 Subcontractor
   A Gardiner                                                                                        Blake                 3/14/2001       111/1951 Subcontractor
   A Hensley                                                                                         Myrl                10/29/2001 9/20/1955 Subcontractor
   A ·H erreid                                                                                       N. Dale                 5/9/2001 12/27/1937 Subcontractor
   A ,Jensen                                                                                         James               12/13/2005 2/16/1932 Subcontractor
  A       Kirschenmann                                                                               Eugene                 1/3/2005 2/15/1943 Subcontractor
  A       Knudson                                                                                    John                 4/12/2000       2/7/1938 Subcontractor
·A        Linsebigler                                                                                William              3/21/2007 11/2/1930 Subcontractor
  A 'M cCollom                                                                                       Bob                  3/29/2001 4/1411935 Subcontractor
  A ·Rebo                                                                                            Debbie               1/23/2001 4/17/1959 Subcontractor
  A 'S tickney                                                                                     Robert                 2/22/2001 ·1/2011948 Subcontractor
  A' Tolle                                                                                          James·                3/15/2001 3/21/1958 Subcontractor
,A       Torgerson                                                                                  Richard                 3/8/2001 8/24/1935 Subcontractor
 \\ Totten                                                                                         Virgil                6/21/2005        9/2/1940 Subcontractor
 'A Welch                                                                                           Charles              3/10/2004 7/26/1953 Subcontractor
 A       Wheeler                                                                                   Gary                  7/14/1999 10/19/1941 Subcontractor
 A Wray                                                                                            Brian                 4/17/2001 9/11/1940 Subcontractor
                                                                                                                                                       5/28/2008
